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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
      JOSE JUAREZ,                            )   Case No.: 5:19-cv-02185 VEB
 11                                           )
                  Plaintiff,                  )   ORDER AWARDING EQUAL
 12                                           )   ACCESS TO JUSTICE ACT
            vs.                               )   ATTORNEY FEES AND EXPENSES
 13                                           )   PURSUANT TO 28 U.S.C. § 2412(d)
      ANDREW SAUL,                            )   AND COSTS PURSUANT TO 28
 14   Commissioner of Social Security,        )   U.S.C. § 1920
                                              )
 15               Defendant                   )
                                              )
 16                                           )
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $4,100.00 as
 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized
 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
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 23   DATED this 19th day of October, 2020
 24                                         /s/Victor E. Bianchini
 25                                         VICTOR E. BIANCHINI
                                            UNITED STATES MAGISTRATE JUDGE
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